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04

05                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
06                                      AT SEATTLE

07 UNITED STATES OF AMERICA,              )
                                          )               Case No. CR03-479-JCC
08               Plaintiff,               )
                                          )
09         v.                             )               SUMMARY REPORT OF U.S.
                                          )               MAGISTRATE JUDGE AS TO
10   CATHIE L. McPHERRIN, aka             )               ALLEGED VIOLATIONS
     CATHIE L. HOTCHKISS,                 )               OF SUPERVISED RELEASE
11                                        )
                 Defendant.               )
12   ____________________________________ )

13
            An initial hearing on a petition for violation of supervised release was held before the
14
     undersigned Magistrate Judge on January 14, 2008. A subsequent hearing took place on January
15
     15, 2008. The United States was represented by Assistant United States Attorney James D.
16
     Oesterle, and the defendant by Michael Filipovic.
17
            The defendant had been charged and convicted of False Statement to a Federal Credit
18
     Union in violation of 18 U.S.C. § 1014. On or about May 14, 2004, defendant was sentenced by
19
     the Honorable John C. Coughenour to a term of one (1) day in custody, to be followed by five
20
     (5) years supervised release.
21
            The conditions of supervised release included the requirements that the defendant comply
22
     with all local, state, and federal laws, and with the standard conditions. Special conditions
23
     imposed included, but were not limited to, financial disclosure, $28,763.19 restitution, search, no
24
     new credit, employment restrictions, asset disclosure.
25
            In a Petition for Warrant or Summons, dated November 8, 2007, U.S. Probation Officer
26

     SUMMARY REPORT OF U.S. MAGISTRATE
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01 Mark Okano asserted the following violations by defendant of the conditions of her supervised

02 release:

03            (1)    Failing to notify the probation officer at least ten (10) days prior to any change in

04                   residence or employment in violation of standard condition #6.

05            (2)    Failing to report to the probation officer as directed by the probation officer in

06                   violation of condition #2.

07            (3)    Failing to follow the instructions of the probation officer in violation of standard

08                   condition #3.

09            The defendant was advised of her rights, acknowledged those rights, and admitted to the

10 three alleged violations.

11            I therefore recommend that the Court find the defendant to have violated the terms and

12 conditions of her supervised release as to violations numbers 1, 2 and 3, and that the Court

13 conduct a hearing limited to disposition. A disposition hearing on these violations has been set

14 before the Honorable John C. Coughenour on January 25, 2008, at 9:45 a.m.

15            Pending a final determination by the Court, the defendant has been released, subject to

16 supervision.

17            DATED this 15th day of January, 2008.

18

19
                                                             A
                                                             JAMES P. DONOHUE
                                                             United States Magistrate Judge
20

21 cc:        District Judge:                Honorable John C. Coughenour
              AUSA:                          Mr. James D. Oesterle
22            Defendant’s attorney:          Mr. Michael Filipovic
              Probation officer:             Mr. Mark K. Okano
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     SUMMARY REPORT OF U.S. MAGISTRATE
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